17-23006-rdd    Doc 13     Filed 12/14/17
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
QIBNY038
                                       :
In re:                                 : Case No. 17-23006 (RDD)
                                       :
SEAN STEPPE,                           : Chapter: 13
                                       :
                            Debtor     :
_______________________________________:

         ORDER TERMINATING LOSS MITIGATION AND FINAL REPORT

Name of Creditor: BAYVIEW LOAN SERVICING, LLC

Property Address: 146 BEECHWOOD AVENUE MOUNT VERNON, NY 10553

Last Four Digits of Account Number of Loan: 1900

File Date of Loss Mitigation request: 06/26/2017

Date of Entry of Loss Mitigation Order: 09/25/2017

Date of Entry of Order Approving Settlement (if any): ___N/A_____

Other Requests for Loss Mitigation in this Case: ____ Yes        _X__ No

       The use of the Court’s Loss Mitigation Program Procedures has resulted in the following
[please check appropriate box below]:

   